




NO. 07-05-0184-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JUNE 16, 2005



______________________________





MARION D. CRUSE, APPELLANT



V.



TEXAS DEPARTMENT OF TRANSPORTATION, APPELLEE





_________________________________



FROM THE 106
TH
 DISTRICT COURT OF GARZA COUNTY;



NO. 04-09-05957-CV; HONORABLE CARTER SCHILDKNECHT, JUDGE



_______________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant Marion D. Cruse appeals from an order granting a Motion for Partial Summary Judgment filed by appellee Texas Department of Transportation. &nbsp;We dismiss for lack of jurisdiction.



Appellant filed his Notice of Appeal on May 6, 2005 with the trial court clerk indicating he was appealing from an April 12, 2005 order. &nbsp;On May 16, 2005, the clerk’s record was received and filed in this court. &nbsp;On June 3, 2005, the appellate clerk sent counsel a letter indicating that no final judgment appeared in the clerk’s record. &nbsp;Responses to this letter could be received in the clerk’s office by June 13, 2005. &nbsp;On June 9, 2005, appellee filed a Motion for Involuntary Dismissal contending that the April 12 order is not a final judgment. &nbsp;No response has been received from appellant. &nbsp;

In a civil case in which the judgment or amount in controversy exceeds one hundred dollars, exclusive of interest and costs, an appeal from a final judgment may be taken to the court of appeals. &nbsp;
Tex. Civ. Prac. &amp; Rem. Code
 § 51.012 (Vernon 1997). &nbsp;Generally, an appeal may be taken only from a final judgment. &nbsp;
See Lehmann v. Har-Con Corp
., 39 S.W.3d 191, 
195 (Tex. 2001). 
 Appeal can be taken from interlocutory orders
 
in certain instances authorized by statute. &nbsp;
Jack B. Anglin Co., Inc. v. Tipps
, 842 S.W.2d 266, 272 (Tex. 1992); 
Cherokee Water Co. v. Ross
, 698 S.W.2d 363, 365 (Tex. 1985); 
see, e.g.
, 
Tex. Civ. Prac. &amp; Rem. Code
 § 51.014 (Vernon 1997). &nbsp;

A judgment is final for purposes of appeal if it disposes of all pending parties and claims in the record, except as necessary to carry out the decree. &nbsp;
See Lehmann
, 39 S.W.3d at 191; 
North East Independent School Dist. v. Aldridge
, 400 S.W.2d 893, 895 (Tex. 1966). &nbsp;

We agree the order from which appellant has given notice of appeal is not a final judgment and is not appealable. &nbsp;We dismiss the appeal for want of jurisdiction. &nbsp;Tex. R. App. P. 42.3(a). &nbsp;



James T. Campbell

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice






